






NUMBER 13-00-740-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

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CHRISTOPHER TREVINO , Appellant,


v.


THE STATE OF TEXAS, Appellee.

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On appeal from the 28th District Court 

of Nueces County, Texas.

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O P I N I O N


Before Justices Hinojosa, Rodriguez, and Castillo

Opinion Per Curiam


Appellant, CHRISTOPHER TREVINO , attempted to perfect an appeal from a judgment entered by the 28th District Court
of Nueces County, Texas.  Sentence in this cause was imposed on August 10, 2000 .  A timely motion for new trial was
filed on August 22, 2000 .   The notice of appeal was due to be filed on November 8, 2000 , but was not filed until
November 27, 2000 .   Said notice of appeal is untimely filed.  Tex. R. App. P. 26.3 provides that the court of appeals may
grant an extension of time for filing notice of appeal if such notice is filed within  fifteen days of the last day allowed and
within the same period a motion is filed in the court of appeals reasonably explaining the need for such extension. 
Appellant failed to file his notice of appeal and a motion requesting an extension of time within such period. 

The Court, having considered the documents on file and appellant's failure to timely perfect his appeal, is of the opinion
that the appeal should be dismissed for want of jurisdiction.  The appeal is hereby DISMISSED FOR WANT OF
JURISDICTION.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed this

the 26th day of July, 2001 .


